                             UNITED STATES DISTRICT COURT
                            EASTERN DISTRICT OF TENNESSEE
                                     AT KNOXVILLE

 GAIL HARNESS,                                             )
                                                           )
          Plaintiff,                                       )
                                                           )
 v.                                                        )       No. 3:18-cv-100
                                                           )
 WILLIAM T. JONES individually and                         )
 In his official capacity; and ANDERSON                    )
 COUNTY, TENNESSEE                                         )
         Defendants.                                       )


                       ANSWER OF ANDERSON COUNTY, TENNESSEE


          COMES the Defendant, Anderson County, Tennessee, and answers the

 Complaint filed against it as follows:

          1.      Answering the allegations contained in Paragraph 1 of the Plaintiff’s

 Complaint, Plaintiff’s averments regarding the law are not facts and accordingly no

 answer is warranted. Any and all allegations against Defendant Jones are not directed

 at this Defendant, and therefore no answer is warranted. To the extent warranted, the

 allegations are placed at issue. This Defendant denies any liability in this cause.

          2.      Answering the allegations contained in Paragraph 2 of Plaintiff’s Complaint,

 it is admitted that Plaintiff has brought this action against William T. Jones and Anderson

 County, Tennessee pursuant to 42 U.S.C. §1983. Defendant denies any liability in this

 cause.

          3.      The allegations contained in Paragraph 3 of Plaintiff’s Complaint are

 admitted.



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        4.     Answering the allegations contained in Paragraph 4 of Plaintiff’s Complaint,

 this Defendant admits that the Court retains supplemental jurisdiction under 28 U.S.C.

 §1367 and may, in its discretion, exercise supplemental jurisdiction over Plaintiff’s state

 law claims in accordance with 28 U.S.C. §1367.            All other allegations against the

 foregoing are denied. Defendant denies any liability to Plaintiff.

        5.     Answering the allegations contained in Paragraph 5 of Plaintiff’s Complaint,

 Venue is admitted. This Defendant is without sufficient knowledge to admit or deny the

 remaining allegations contained in Paragraph 5 and accordingly the allegations are

 placed at issue.

        6.     Answering the allegations contained in Paragraph 6 of Plaintiff’s Complaint,

 this Defendant is without sufficient knowledge or information to admit or deny the

 allegations in the first sentence of Paragraph 6. It is admitted that at times Plaintiff worked

 in the Circuit Court Clerks’ Office of Anderson County, Tennessee. It is admitted that

 Plaintiff is presently employed by Anderson County, Tennessee. All allegations against

 the foregoing are denied. This Defendant denies any liability to Plaintiff.

        7.     The allegations contained in Paragraph 7 of Plaintiff’s Complaint are

 admitted.

        8.     The allegations contained in Paragraph 8 of Plaintiff’s Complaint are not

 directed at this Defendant and therefore no answer is warranted. Defendant Anderson

 County, Tennessee does aver that any official capacity action against Mr. Jones, or any

 other county employee is, pursuant to §1983 precedent, in actuality a case against the

 county. Accordingly, to the extent the allegations contained in Paragraph 8 of Plaintiff’s

 Complaint are against the county, the allegations are denied.



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         9.      Defendant is without sufficient knowledge or information to admit or deny

 the vague and ambiguous allegations in Paragraph 9 of Plaintiff’s Complaint and

 accordingly the allegations are placed at issue. This Defendant avers, however, that the

 court may, in its discretion, exercise supplemental jurisdiction over this claim in order to

 be adjudicated in this forum.

         10.     Answering the allegations contained in Paragraph 10 of Plaintiff’s

 Complaint, it is admitted that Plaintiff was first an unpaid intern and then a part time clerk

 employed by the Circuit Court for Anderson County, Tennessee. Defendants are without

 sufficient knowledge or information concerning Plaintiffs collegiate endeavors or actual

 date of graduation, and accordingly the same are placed at issue. This Defendant denies

 any liability to the Plaintiff.

         11.     The allegations contained in Paragraph 11 of Plaintiff’s Complaint are not

 directed at this Defendant, and therefore no answer is warranted.             To the extent

 warranted, the allegations are placed at issue. All allegations inconsistent with the

 foregoing are denied. This Defendant denies any liability to the Plaintiff.

         12.     The allegations contained in Paragraph 12 of Plaintiff’s Complaint are not

 directed at this Defendant, and therefore no answer is warranted.             To the extent

 warranted, the allegations are placed at issue. All allegations inconsistent with the

 foregoing are denied. This Defendant denies any liability to the Plaintiff.

         13.     The allegations contained in Paragraph 13 of Plaintiff’s Complaint are not

 directed at this Defendant, and therefore no answer is warranted.             To the extent

 warranted, the allegations are placed at issue. All allegations inconsistent with the

 foregoing are denied. This Defendant denies any liability to the Plaintiff.



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         14.   The allegations contained in Paragraph 14 of Plaintiff’s Complaint are not

 directed at this Defendant, and therefore no answer is warranted.            To the extent

 warranted, the allegations are placed at issue. All allegations inconsistent with the

 forgoing are denied. This Defendant denies any liability to the Plaintiff.

         15.   Answering the allegations contained in Paragraph 15 of Plaintiff’s

 Complaint, it is admitted only that Anderson County, Tennessee has an anti-harassment

 and anti-retaliation policy.   The remaining allegations contained in Paragraph 15 of

 Plaintiff’s Complaint are not directed at this Defendant and therefore no answer is

 warranted. To the extent warranted, the allegations are placed at issue. All allegations is

 inconsistent with the foregoing are denied. This Defendant denies any liability to the

 Plaintiff.

         16.   This Defendant is without sufficient knowledge or information to admit or

 deny the allegations contained in Paragraph 16 and accordingly the allegations are

 denied.

         17.   This Defendant is without sufficient knowledge or information to admit or

 deny the allegations contained in Paragraph 17 and accordingly the allegations are

 denied. The allegations contained in Paragraph 17 of Plaintiff’s Complaint are also not

 directed at this Defendant and therefore no answer is warranted. To the extent warranted,

 the allegations are placed at issue. All allegations against this Defendant are denied.

 Defendant denies any liability to the Plaintiff.

         18.   The allegations contained in Paragraph 18 of Plaintiff’s Complaint are not

 directed at this Defendant and therefore no answer is warranted. To the extent warranted,




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 the allegations are placed at issue. All allegations against the foregoing are denied.

 Defendant denies any liability to the Plaintiff.

        19.    The allegations contained in Paragraph 19 of Plaintiff’s Complaint are not

 directed at this Defendant and therefore no answer is warranted. To the extent warranted,

 the allegations are placed at issue. All allegations inconsistent with the foregoing are

 denied. Defendant denies any liability to the Plaintiff.

        20.    The allegations contained in Paragraph 20 of Plaintiff’s Complaint are not

 directed at this Defendant and therefore no answer is warranted. To the extent warranted,

 the allegations are placed at issue. All allegations against the foregoing are denied.

 Defendant denies any liability to the Plaintiff.

        21.    The allegations contained in Paragraph 21 of Plaintiff’s Complaint are not

 directed at this Defendant and therefore no answer is warranted. To the extent warranted,

 the allegations are placed at issue. All allegations inconsistent with the foregoing are

 denied. Defendant denies any liability to the Plaintiff.

        22.    The allegations contained in Paragraph 22 of Plaintiff’s Complaint are not

 directed at this Defendant and therefore no answer is warranted. To the extent warranted,

 the allegations are placed at issue. All allegations inconsistent with the foregoing are

 denied. Defendant denies any liability to the Plaintiff.

        23.    The allegations contained in Paragraph 23 of Plaintiff’s Complaint are not

 directed at this Defendant and therefore no answer is warranted. To the extent warranted,

 the allegations are placed at issue. All allegations inconsistent with the foregoing are

 denied. Defendant denies any liability to the Plaintiff.




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        24.    The allegations contained in Paragraph 24 of Plaintiff’s Complaint are

 denied.

        25.    The allegations contained in Paragraph 25 of Plaintiff’s Complaint are

 denied.

        26.    The allegations contained in Paragraph 26 of Plaintiff’s Complaint are

 denied.

        27.    The allegations contained in Paragraph 27 of Plaintiff’s Complaint are not

 directed at this Defendant and therefore no answer is warranted. To the extent warranted,

 Defendant places the allegations at issue. All allegations inconsistent with the foregoing

 are denied. This Defendant denies any liability to the Plaintiff.

        28.    The allegations contained in Paragraph 28 of Plaintiff’s Complaint are not

 directed at this Defendant and therefore no answer is warranted. To the extent warranted,

 Defendant places the allegations at issue. All allegations inconsistent with the foregoing

 are denied. This Defendant denies any liability to the Plaintiff.

        29.    The allegations contained in Paragraph 29 of Plaintiff’s Complaint are not

 directed at this Defendant and therefore no answer is warranted. To the extent warranted,

 Defendant places the allegations at issue. All allegations inconsistent with the foregoing

 are denied. This Defendant denies any liability to the Plaintiff.

        30.    The allegations contained in Paragraph 30 of Plaintiff’s Complaint are not

 directed at this Defendant and therefore no answer is warranted. To the extent warranted,

 Defendant places the allegations at issue. All allegations inconsistent with the foregoing

 are denied. This Defendant denies any liability to the Plaintiff.




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        31.     The allegations contained in Paragraph 31 of Plaintiff’s Complaint are not

 directed at this Defendant and therefore no answer is warranted. To the extent warranted,

 Defendant places the allegations at issue. All allegations inconsistent with the foregoing

 are denied. This Defendant denies any liability to the Plaintiff.

        32.     The allegations contained in Paragraph 32 of Plaintiff’s Complaint are not

 directed at this Defendant and therefore no answer is warranted. To the extent warranted,

 Defendant places the allegations at issue. All allegations inconsistent with the foregoing

 are denied. This Defendant denies any liability to the Plaintiff.

        33.     Answering the allegations contained in Paragraph 33 of Plaintiff’s

 Compliant, it is admitted that Plaintiff was placed on a paid leave of absence beginning in

 September, 2017. All allegations inconsistent with the foregoing admission are denied.

 This Defendant denies any liability in this case.

        34.     This Defendant incorporates by reference the allegations of Paragraphs 1-

 33 of Plaintiff’s Complaint as if fully set forth herein.

        35.     The allegations contained in Paragraph 35 of Plaintiff’s Complaint are not

 directed at this Defendant and therefore no answer is warranted. To the extent warranted,

 Defendant places the allegations at issue. All allegations inconsistent with the foregoing

 are denied. This Defendant denies any liability to the Plaintiff.

        36.     The allegations contained in Paragraph 36 of Plaintiff’s Complaint are not

 directed at this Defendant and therefore no answer is warranted. To the extent warranted,

 Defendant places the allegations at issue. All allegations inconsistent with the foregoing

 are denied. This Defendant denies any liability to the Plaintiff.




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         37.   The allegations contained in Paragraph 37 of Plaintiff’s Complaint are not

 directed at this Defendant and therefore no answer is warranted. To the extent warranted,

 Defendant places the allegations at issue. All allegations inconsistent with the foregoing

 are denied. This Defendant denies any liability to the Plaintiff.

         38.   The allegations contained in Paragraph 38 of Plaintiff’s Complaint are not

 directed at this Defendant and therefore no answer is warranted. To the extent warranted,

 Defendant places the allegations at issue. All allegations inconsistent with the foregoing

 are denied. This Defendant denies any liability to the Plaintiff. It is denied that Plaintiff is

 entitled to reasonable attorney fees, costs, damages or any other relief against this

 Defendant.

         39.   This Defendant incorporates by reference its responses to the allegations

 contained in Paragraphs 1-38 of Plaintiff’s Complaint as if fully and completely set forth

 herein.

         40.   Answering the allegations contained in Paragraph 40 of Plaintiff’s

 Complaint, this Defendant denies Mr. Jones has any final policy making authority to bind

 the county under 42 U.S.C. §1983, or any other state or federal law. The primary

 allegations contained in Paragraph 40 are not directed at this Defendant and no answer

 is warranted. To the extent warranted, the allegations are placed at issue. All allegations

 inconsistent with the foregoing are denied. This Defendant denies any liability to the

 Plaintiff.

         41.   This Defendant denies the allegations contained in Paragraph 41 of

 Plaintiff’s Complaint.




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        42.    This Defendant denies the allegations contained in Paragraph 42 of

 Plaintiff’s Complaint.

        43.    This Defendant denies the allegations contained in Paragraph 43 of

 Plaintiff’s Complaint.

        44.    This Defendant denies the allegations contained in Paragraph 44 of

 Plaintiff’s Complaint.

        45.    This Defendant denies the allegations contained in Paragraph 45 of

 Plaintiff’s Complaint.

        46.    This Defendant incorporates by reference its responses to the allegations

 contained in Paragraphs 1-45 of Plaintiff’s Complaint as if fully and completely set forth

 herein.

        47.    This Defendant denies the allegations contained in Paragraph 47 of

 Plaintiff’s Complaint.

        48.    This Defendant denies the allegations contained in Paragraph 48 of

 Plaintiff’s Complaint.

        49.    This Defendant denies the allegations contained in Paragraph 49 of

 Plaintiff’s Complaint.

        50.    This Defendant denies the allegations contained in Paragraph 50 of

 Plaintiff’s Complaint.

        51.    This Defendant denies the allegations contained in Paragraph 51 of

 Plaintiff’s Complaint.

        52.    This Defendant denies the allegations contained in Paragraph 52 of

 Plaintiff’s Complaint.



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         53.    This Defendant incorporates by reference its responses to the allegations

  contained in Paragraphs 1-52 of Plaintiff’s Complaint as if fully and completely set forth

  herein.

         54.    This Defendant denies the allegations contained in Paragraph 54 of

  Plaintiff’s Complaint.

         55.    This Defendant denies the allegations contained in Paragraph 55 of

  Plaintiff’s Complaint.

         56.    This Defendant denies the allegations contained in Paragraph 56 of

  Plaintiff’s Complaint.

         57.    This Defendant denies the allegations contained in Paragraph 57 of

  Plaintiff’s Complaint.

         58.    Anything not heretofore expressly admitted or denied, is denied as though

  fully and completely set forth herein.

         59.    Defendant Anderson County, Tennessee avers that Plaintiff’s Complaint

  fails to state a claim upon which relief can be granted as to this Defendant.

         60.    Defendant Anderson County, Tennessee denies Plaintiff is entitled to

  equitable relief, compensatory damages of any kind, punitive damages of any kind,

  interest of any kind, attorney fees and costs of any kind, or any other relief in this cause.

  Defendant denies any liability to the Plaintiff.

         61.    This Defendant avers that some or all of Plaintiff’s action is barred by the

  applicable statute of limitations.




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         WHEREFORE, Anderson County, Tennessee, respectfully requests that Plaintiff’s

  action be dismissed with prejudice, costs and attorney’s fees be awarded to Anderson

  County, Tennessee, and this Defendant further demands a jury to try this cause.

         RESPECTFULLY SUBMITTED this 13th day of April, 2018.

                                                     TAYLOR & KNIGHT, GP

                                                     s/ Arthur F. Knight, III
                                                     Arthur F. Knight, III, BPR #016178
                                                     TAYLOR & KNIGHT, P.C.
                                                     800 South Gay Street, Suite 600
                                                     Knoxville, TN 37929
                                                     Phone: 865-971-1701
                                                     Fax: 865-971-1705




                                  CERTIFICATE OF SERVICE

          I hereby certify that on April 13, 2018, a copy of the foregoing document was filed
  electronically. Notice of this filing will be sent by operation of the Court’s electronic filing
  system to all parties indicated on the electronic filing receipt. All other parties will be
  served via regular U.S. Mail. Parties may access this filing through the Court’s electronic
  filing system.


                                      s/Arthur F. Knight, III
                                      Arthur F. Knight, III




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